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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS


AMBER RUCKER

                       Plaintiff,

v.                                                  Civil Action No. 1:20-cv-11761-NMG


PRESIDENT AND FELLOWS OF
HARVARD COLLEGE

                       Defendant.



                  AMENDED COMPLAINT AND JURY DEMAND

                                         Parties


     1. The Plaintiff, Amber Rucker (hereinafter “Ms. Rucker” or “Plaintiff”), is an
        individual who maintains a residence at 55 Lincoln Street, #2, Malden, Middlesex
        County, Massachusetts.

     2. The Defendant, President and Fellows of Harvard College (hereinafter “School”)
        maintains a business address of 90 Smith Street, Roxbury Suffolk County,
        Massachusetts.

                                          Facts


     3. Ms. Rucker is Black.

     4. Ms. Rucker is a former employee of the Defendant.

     5. Ms. Rucker worked at Ariadne Labs, a joint health system innovation center of
        Brigham and Women’s Hospital and the School, as part of its Delivery Decisions
        Initiative (“DDI”) team.

     6. Ms. Rucker was employed by the School from March 2017 to August 2019.

     7. Ms. Rucker was employed by the School as a Project Coordinator.
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8. Ms. Rucker worked as part of a team that researched the overuse of cesarean
   sections in childbirth.

9. Specifically, the DDI research focused on developing childbirth care solutions
   that promoted quality, dignity and racial equity in their centerpiece project
   “TeamBirth”.

10. Dr. Neel Shah (“Dr. Shah”) is an Assistant Professor of Obstetrics, Gynecology
    and Reproductive Medicine at the School and is the Director of the DDI at
    Ariadne Labs.

11. Dr. Shah fostered an environment of institutionalized racism on DDI and within
    the School.

12. For example, throughout October, November and December 2018, Ms.Rucker
    made the suggestion to increase the number of Black participants invited to the
    School’s expert consultation. Ms. Rucker rationalized the fact that the maternal
    health crisis affects Black women three to four times more than non-Hispanic
    white women, and so logically more Black individuals should be invited to
    participate.

13. Ms. Rucker’s suggestion was dismissed and the School made no effort to increase
    Black participation / attendance.

14. The School’s inaction had the effect of creating a hostile work environment for
    Plaintiff.

15. For example, Chanel Porchia-Albert (“Mrs. Porchia-Albert”), a Black woman
    who participated in the School’s expect consultation meeting in January 2019
    posed a question to the School, through Dr. Shah, as to how the proposed
    solution, “TeamBirth” worked to address racial disparities observed in maternal
    health given that the meeting participants and TeamBirth research sites were
    majority white.

16. Immediately following the meeting, Dr. Shah stated he would un-invite her from
    participating in future meetings – attempting to ostracize Mrs. Porchia-Albert
    from the program and signaling to his staff, including Ms. Rucker, that Black
    women are inferior.

17. In the January 2019 expert consultation meeting, only three Black experts,
    including Mrs. Porchia-Albert were invited to participate out of more than one
    hundred attendees.

18. As a Black woman, witnessing Dr. Shah mistreat Mrs. Porchia-Albert had the
    effect of creating a hostile work environment for Plaintiff.
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19. For example, often and as recently February 2019, Dr. Shah stated Black women
    are “non-compliant patients” leading to their negative maternal health outcomes.

20. As the result of Dr. Shah’s racist comments and overall demeaning attitude, Ms.
    Rucker complained to his Associate Director, Amber Weiseth (“Dr. Weiseth”).

21. Dr. Weiseth, who had supervisory authority over Plaintiff, promised to investigate
    her complaint and speak to Dr. Shah about the issues.

22. On information and belief, no meaningful investigation was performed by anyone
    within the School, including Dr. Weiseth, and Dr. Shah continued to operate in a
    racist manner.

23. For example, Dr. Shah referred to the hospital primarily serving Black and brown
    patients as a “sandbox” to “play in” to “test” other hypotheses of the TeamBirth
    solution, as the other four sites primarily served white patients.

24. For example, often, and as recently as April 2019, Dr. Shah has stated that Black
    women are “aggressive” and “difficult to work with”.

25. On another occasion, in April 2019 Dr. Shah spoke of fighting with another
    “woman of color”, referring to Nicolle Gonzales, a Native midwife.

26. On another occasion, in May 2019 Timoria McQueen (“Mrs. McQueen”), a Black
    woman, was asked to be a panelist for a discussion at an ACOG forum. In
    preparing for the panel discussion, when Mrs. McQueen disagreed with an issue
    related to the panel, Dr. Shah effectively stated to Mrs. McQueen that, as a Black
    woman, she should simply be thankful to have been appointed but her opinion
    was not necessary.

27. Furthermore, Dr. Shah stated that Ms. McQueen was “combative” and if she did
    not adopt his ideas, he would have her removed from the panel.

28. As a Black woman, witnessing Dr. Shah mistreat of Mrs. McQueen had the effect
    of creating a hostile work environment for Plaintiff.

29. The net effect of the hostile, racist attitude by the leadership of the Initiative led to
    constant micro-aggressions by Caucasian employees towards Black employees,
    and specifically, Ms. Rucker.

30. Ms. Rucker experienced micro-aggressions and racially biased statements from
    her colleagues on a weekly, sometimes daily, basis up to her constructive
    termination.

31. For example, Ms. Rucker was discouraged from participating in the School’s
    Diversity and Inclusion meeting by her former manager stating “make sure it does
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   not interfere with your work”, although all Diversity and Inclusion meetings were
   held during lunchtime.

32. For example, during the hiring process of a research assistant, a DDI team
    member during a weekly team meeting stated “to create a more diverse candidate
    pool, we might have to lower the job requirements”.

33. As a direct result, Ms. Rucker was thanked by Dr. Shah for not “aggressively
    responding” to her colleague for their racist comment.

34. The School hired a white woman to fulfill the research assistant role.

35. Furthermore, the Defendant discriminated against Plaintiff as it related to her job
    duties, pay, title and advancement.

36. Based upon Ms. Rucker’s skill set, job duties and responsibilities, Ms. Rucker’s
    job title should have been Senior Project Coordinator from roughly the date of her
    hire.

37. While the School ultimately reclassified her job title to Senior Project
    Coordinator, it took the School over two years to do so.

38. However, during her time with the School, Ms. Rucker’s white colleagues had
    their jobs reclassified or were promoted within a year or less.

39. Furthermore, most of Plaintiff’s white comparators began their employment with
    the School after Ms. Rucker did.

40. Additionally, at the time of her job reclassification a 15% raise was recommended
    by Plaintiff’s supervisor.

41. When the reclassification was finally approved, only a 7% increase was awarded.

42. On information and belief, when Ms. Rucker’s white colleagues earned job
    reclassifications or promotions, they were awarded higher than a 7% salary
    increase.

43. On information and belief, Ms. Rucker is paid less than her male colleagues for
    substantially similar work.

44. On information and belief, Ms. Rucker is paid less than her white colleagues for
    substantially similar work.

45. Ms. Rucker complained about her salary being too low given the high level of
    responsibility as a Senior Project Coordinator, but her complaint was dismissed
    by the School.
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46. During a discussion regarding her dissatisfaction with the salary increase with
    former Chief Operations Officer, Catherine Breen (“Mrs. Breen”), the Plaintiff
    mentioned a white male comparator who had been promoted multiple times. Ms.
    Breen responded by saying the School wanted to “retain him and plus he has a
    family to support”. Ms. Breen offered the Plaintiff mentorship and assistance in
    finding other positions outside of the School, if Plaintiff needed to make more
    money.

47. Dr. Weiseth encouraged the mentorship between the Plaintiff and Ms. Breen,
    stating: “she holds the relationship with the School’s Human Resources (HR)
    department” or words to that effect.

48. Furthermore, promotions were not based on a meritocracy for the Plaintiff’s male
    white comparators.

49. Ms. Rucker ultimately aspired to be a Project Manager.

50. The School was aware of Ms. Rucker’s aspirations.

51. Ms. Rucker witnessed her white comparators receive promotions in under a year
    on multiple occasions while employed by Defendant.

52. When Ms. Rucker informed the School that she wanted to become a Project
    Manager, she was told she must wait at least one year before she would become
    eligible.

53. Specifically, Ms. Rucker was told that she needed to have a year in each job
    classification before one could be promoted or reclassified.

54. This directly contradicted the Ariadne Labs Promotion and Reclasses Process
    Revision Policy which states “{i}t is important to note that promotions and
    reclasses are never based on years of service in a particular role.”

55. In addition, Ms. Rucker observed her white comparators who were promoted
    and/or reclassified without having a year in their current job classification.

56. However, the School committed fraud when Ms. Rucker was deceitfully listed as
    a Project Manager on an awarded grant proposal with commensurate salary
    despite never being promoted to Project Manager. As a result. the School was
    awarded the requested amount which listed Ms. Rucker’s salary as higher.

57. As a result of the School’s continued racism, Ms. Rucker was constructively
    terminated.
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  58. Plaintiff has exhausted her administrative remedies with the Massachusetts
      Commission Against Discrimination and the Equal Employment Opportunity
      Commission.



                                   Causes of Action

                    (Each Cause Of Action Incorporates Therein
                   All Of The Paragraphs Set Forth, Hereinabove.)

FIRST CAUSE OF ACTION – RACE DISCRIMINATION IN VIOLATION OF MASS.
                 GEN. LAWS CHAPTER 151B §1, et. seq.

  59. This is a cause of action against the Defendant for race discrimination in violation
      of Massachusetts General Laws Chapter 151B § 1, et. seq.

  60. The Plaintiff is Black.

  61. The Defendant is aware that Plaintiff is Black.

  62. The Plaintiff was subjected to race discrimination, which had the purpose of
      creating a hostile and humiliating work environment, which interfered with the
      Plaintiff’s ability to do her job.

  63. The Defendant treated Plaintiff’s Caucasian comparators more favorably than
      Plaintiff.


  64. The Defendant terminated Plaintiff because of her race.

  65. As a result of the Defendant’s conduct, the Plaintiff has suffered damages.


 SECOND CAUSE OF ACTION –RACE DISCRIMINATION IN VIOLATION OF
TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, 42 USC CHAPTER 2000e et seq.


  66. This is a cause of action against the Defendant for race discrimination in violation
      of Title VII of the Civil Rights Act of 1964, 42 U.S.C. Chapter 2000e et seq.

  67. The Plaintiff is Black.

  68. The Defendant is aware that Plaintiff is Black.
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  69. The Plaintiff was subjected to race discrimination, which had the purpose of
      creating a hostile and humiliating work environment, which interfered with the
      Plaintiff’s ability to do her job.

  70. The Defendant treated Plaintiff’s Caucasian comparators more favorably than
      Plaintiff.

  71. The Defendant terminated Plaintiff because of her race.

  72. As a result of the Defendant’s conduct, the Plaintiff has suffered damages.


THIRD CAUSE OF ACTION –VIOLATION OF MASS. GEN. LAWS CHAPTER 149
             §105A – MASSACHUSETTS EQUAL PAY ACT


  73. This is a cause of action by Plaintiff against the Defendant for violation of the
      Massachusetts Equal Pay Act, Massachusetts General Laws Chapter 149 §
      1105A.

  74. The Defendant paid the Plaintiff less than her male comparators for comparable
      work.

  75. As a result of the Defendant’s conduct, the Plaintiff has suffered damages.


               The Plaintiff demands a jury trial on all triable issues.

  WHEREFORE, the Plaintiff hereby requests that this Honorable Court grant the
  following relief:

  1. Judgment against the Defendant;

  2. Attorney’s fees, costs, and expert witness fees;

  3. Compensatory damages for emotional distress;

  4. Punitive damages pursuant to MGL c. 151B, § 9 and 42 U.S.C. Chapter 2000e et
     seq.;

  5. Double damages pursuant to the Massachusetts Equal Pay Act;

  6. Pre-Judgment and Post-Judgment Interest, and

  7. Such other relief as the Court deems just and fair.
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May 17, 2021                         The Plaintiff,
                                     Amber Rucker,
                                     By her attorney,



                                     _________________________
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